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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA


(1)     CRYSTAL MARIE DANIELS,                       )
                                                     )
                                   Plaintiff,        )
v.                                                   )
                                                     )
(1)     THE BOARD OF REGENTS OF THE                  ) Case No. CIV-22-625-R
        UNIVERSITY OF OKLAHOMA;                      )
                                                     )
(2)     UNIVERSITY HOSPITALS AUTHORITY )
        An agency of the State of Oklahoma, and      )
        RANDY DOWELL, in his official capacity )
        As the Chief Executive Officer of University )
        Hospitals Authority;                         )
                                                     )
(3)     DARRYL J. TILLER, (in his individual and )
        Official capacities) Director of Clinical    )
        Pastoral Education, University of Oklahoma )
        Medical Center; and                          )
                                                     )
(4)     OU MEDICINE, INC., an Oklahoma               )
        domestic) not-for-profit corporation,        )
        d/b/a OU Health,                             )
                                                     )
                                                     )
                                   Defendants.       )

                   STIPULATION OF DISMISSAL WITH PREJUDICE

        COME NOW the parties1 in this case, Plaintiff, Crystal Marie Daniels, and

Defendants, The Board Of Regents Of The University Of Oklahoma, Darryl J. Tiller, and


1
 Defendants University Hospital Authority and Randy Dowell were previously dismissed by Order of the Court (Doc.
No. 51).

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                                                                              Stipulation Of Dismissal With Prejudice
                                                           Crystal Marie Daniels v. The Board of Regents of OU, et al.
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OU Medicine, Inc., and dismiss this matter with prejudice, pursuant to Fed. R. Civ. P.

41(a)(1)(ii).

                                       Respectfully submitted,



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                                                                 Stipulation Of Dismissal With Prejudice
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